                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    at GREENEVILLE

 THE PRUDENTIAL INSURANCE COMPANY )
 OF AMERICA                          )
                                     )
                                     )
 vs.                                 )                                2:11-CV-55
                                     )                                Judge Greer
                                     )
 JOANNE CRAIG, BARBARA PARR-LOPEZ, )
 and SNYDER’S MEMORIAL GARDENS, INC. )

                                  REVISED AGREED ORDER

        This action is an interpleader action in which there are competing claims to death benefits

 under a life insurance policy issued by the original Plaintiff, The Prudential Life Insurance Company

 of America (Prudential). Prudential paid the proceeds of the policy into the Registry of the Court

 and was accordingly dismissed from the action. Joanne Craig and Barbara Parr-Lopez filed a Joint

 Motion for Court Approval of Settlement.

        Joanne Craig and Barbara Parr-Lopez, both claimed that they were entitled to the proceeds

 of the policy but have compromised and negotiated such that they have settled all issues in dispute

 and requested that this Court approve their settlement agreement. The principal sum of $99,375.59

 was paid into the Registry of the Court by Prudential. Further, that since being deposited into the

 Registry of the Court the funds have earned interest of $63.55, such that there is not a total of

 $99,439.14 being held. The parties agreed that the claim filed by Snyder Memorial Gardens in the

 amount of $1,603.13 should first be paid by the clerk directly to Snyder Memorial Gardens.

        That after said payment there remains in the Registry the sum of $97,836.01. The parties

 agreed that the Clerk shall be paid Clerk’s Registry fee in the amount of $6.35 leaving a balance of

 $97,829.66. The parties shall then divide said amount with Barbara Parr-Lopez receiving sixty
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 (60%) percent of said amount for a total of $58,697.80 and Joanne Craig receiving forty (40%)

 percent of said amount for a total of $39,131.86.

         The parties further agreed that the funds would be tendered in the form of checks written to

 the firm representing each party respectfully and that the firm will provide their respective Federal

 Tax Identification numbers and Social Security number of their respective clients to the Clerk.

 Finally, the parties have agreed that each party will be responsible for their own costs and attorney’s

 fees.

         IT IS ORDERED that the agreement of the parties is ratified and made an Order of the Court

 and that the request in the Joint Motion is well taken and granted. IT IS FURTHER ORDERED that

 the Clerk pay unto Snyder Memorial Gardens the sum of $1,603.13 and that after deduction of the

 Clerk’s Registry fee of $6.35 that the remaining proceeds be divided sixty (60%) percent to Barbara

 Parr-Lopez and forty (40%) percent to Joanne Craig. Specifically, that the sum of $58,697.80 be

 tendered to Barbara Parr-Lopez by payment of a check made payable to the trust account of Paine,

 Tarwater and Bickers, LLP and that the sum of $39,131.86 be tendered to Joanne Craig by payment

 of a check made payable to the trust account of Leonard, Kershaw & Hensley, LLP. That the

 respective firms shall then disburse the proceeds to each client pursuant to the agreement as between

 the client and the firm.

         ENTER:


                                                               s/J. RONNIE GREER
                                                          UNITED STATES DISTRICT JUDGE




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